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                           Case 1:19-sw-00214-GMH Document 1 Filed 05/31/19 Page 2 of 12
                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 19-sw-214
      FOUR U.S. POSTAL PARCELS LOCATED AT THE                               )
         WASHINGTON GENERAL MAIL FACILITY,                                  )
           WASHINGTON, DC UNDER RULE 41                                     )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  SEE ATTACHMENT A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  CONTRABAND CONTROLLED SUBSTANCES




          YOU ARE COMMANDED to execute this warrant on or before                                 (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to            G. Michael Harvey, U.S. Magistrate Judge         .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          5/31/2019
                                                                                                          Judge’s signature

City and state: Washington, DC                                                           G. Michael Harvey, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:19-sw-00214-GMH Document 1 Filed 05/31/19 Page 3 of 12
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 19-sw-214
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                       Attachment A
                                        (19-sw-214)
                                   Property to be searched

Subject     Express (E) or Priority (P)    From:                  To:
Parcel      and Tracking ID number         Name and Address       Name and Address


1.          (P) 9405 5368 9784 6863        TAMMY ISAACS           CHRIS ISAACS
            1114 86                        327 N BENTON WAY       38 PORTER ST NE
                                           LOS ANGELES CA         WASHINGTON DC 20002-
                                           90026-4707             2104


2.          (P) 9400 1368 9784 6864        SANDY DE ARANGO        HUGH & CRYE
            6791 42                        10 SACO ST UNIT 1      1140 3RD ST NE # 2176
                                           DORCHESTER MA          WASHINGTON DC 20002-
                                           02122-2646             6274

3.          (P) 9505 5144 9424 9145        Anikh Wadhawan         Anikh Wadhawan
            2618 64                        1459 Shady Oaks        1270 4th Street NE,
                                           Dr., Peris, CA 92571   Apt. 206, Washington D.C.
                                                                  20005

4.          (P) 9505 5144 9424 9145        Anikh W.               Anikh W.
            2618 57                        1459 Shady Oaks Dr.    1270 4th Street
                                           Perris, CA 92571       NE, Atp. 206
                                                                  Washington
                                                                  D.C., 20002
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
 IN THE MATTER OF THE SEARCH OF:
 FOUR U.S. POSTAL PARCELS LOCATED
 AT THE WASHINGTON GENERAL MAIL                      19-sw-214
 FACILITY, WASHINGTON, DC
 UNDER RULE 41

                     AFFIDAVIT IN SUPPORT OF APPLICATION
                  FOR A SEARCH WARRANT FOR US MAIL PARCELS

       Your Affiant, Mikel Brancato, United States Postal Inspector, Washington DC, being

duly sworn, hereby deposes and states as follows:

I.     Subject Parcels.

       1.      This is an Affidavit submitted in support of an Application for a Search Warrant

for four (4) subject US Mail Parcel(s), hereinafter “Subject Parcel(s),” or “SP.”   These Subject

Parcels are currently located at the Washington General Mail Facility, in Washington, DC, 20066.

Those Subject Parcels are specifically identified as follows:

Subject     Express (E) or Priority (P)     From:                      To:
Parcel      and Tracking ID number          Name and Address           Name and Address


1.          (P) 9405 5368 9784 6863         TAMMY ISAACS               CHRIS ISAACS
            1114 86                         327 N BENTON WAY           38 PORTER ST NE
                                            LOS ANGELES CA             WASHINGTON DC 20002-
                                            90026-4707                 2104


2.          (P) 9400 1368 9784 6864         SANDY DE ARANGO            HUGH & CRYE
            6791 42                         10 SACO ST UNIT 1          1140 3RD ST NE # 2176
                                            DORCHESTER MA              WASHINGTON DC 20002-
                                            02122-2646                 6274
3.          (P) 9505 5144 9424 9145         Anikh Wadhawan             Anikh Wadhawan
            2618 64                         1459 Shady Oaks            1270 4th Street NE,
                                            Dr., Peris, CA 92571       Apt. 206, Washington D.C.
                                                                       20005

                                                 1
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4.          (P) 9505 5144 9424 9145          Anikh W.                     Anikh W.
            2618 57                          1459 Shady Oaks Dr.          1270 4th Street
                                             Perris, CA 92571             NE, Atp. 206
                                                                          Washington
                                                                          D.C., 20002


II.    Affiant’s Training and Experience

                2.     Your Affiant, Mikel Brancato, has been a United States Postal Inspector

since February 2012 and has completed 12 weeks of basic investigative training in Potomac,

Maryland, which included various aspects of federal law enforcement including the investigation

of narcotics-related offenses. Your affiant has participated in investigations involving possession

with intent to distribute and distribution of controlled substances. Your affiant has participated in

interdictions, controlled deliveries, seizures, and search warrants which resulted in criminal arrest

and prosecution. As a result of your Affiant’s training and experience, your Affiant is aware that

Priority Mail Express and Priority Mail services are regularly used by narcotic traffickers to ship

controlled substances and bulk cash through the U.S. Mail. Based upon my training and experience

in the field of narcotic interdiction through the mails, I know that there are suspicious

characteristics common to many packages that contain narcotics, controlled substances or the

proceeds thereof (i.e. US currency). These factors, more fully detailed below, are used to identify

packages requiring further investigation. In the case of this search warrant, several of these factors

were identified for the four (4) packages, and each package was alerted to by the drug detection

canine. The most common factors or suspicious characteristics routinely observed in the course

of screening packages are as follows:

             a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

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progress of a parcel through the system), the US Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight. (That deadline is determined at the time of mailing.) The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel on line by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still

provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the counter

by using cash or a credit card. Business Priority Mail Express parcels typically weigh no more

than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds. Drug

packages typically exceed these weights. Address labels on business parcels are typically typed,

whereas those on drug packages are typically hand written. In your affiant’s experience, it is fairly

easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail Express and

Priority Mail parcels, from other, heavier parcels. Typically, drug traffickers use Priority Mail

Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the

mail, the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

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name of the sender is also typically invalid in one of several ways. Your affiant has seen packages

sent by persons with names of celebrities, cartoon characters, or fictional names. More often a

search of a law enforcement database reflects that there is no association between the name of the

sender and the address provided.

               c.      Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents.    Sometimes drug packages are addressed to vacant properties with the

expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Nevada, Washington, Colorado, Puerto Rico and Florida

(among others, including countries such as China, Netherlands, and various African nations) can

also indicate that the parcel contains controlled substances.

               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience Postal Inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to



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forestall easy checking on the interior contents by lifting up a flap. For this reason, your affiant

has also observed excessive glue on the flaps of narcotics parcels as well.

               g.      Click-N-Ship: The US Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”

states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

          4.   It is your affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

          5.   The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were related to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known

to agents of the government. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant, and does not set forth all of my knowledge about this

matter.

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III.    Probable Cause

        6.       The following factors or suspicious characteristics are present in each of the Subject

Parcels:

 Subject        From               Weight:         Label:             Senders        Recipient Canine
 Parcel         Source                                                name           s name    Alert?
 Express        State:                                                associated     associate
 or                                                                   with           d with
 Priority                                                             address?       address?
                                                                      Yes / No       Yes / No
 1.                                 3 lbs. 3.4
                  Yes – CA                             Typed              No             No          Yes (Max)
 Priority                              ozs
 2.                                 0 lbs. 15.2
                   No – MA                             Typed              No             No          Yes (Max)
 Priority                               ozs
 3.                                 15 lbs. 10
                  Yes – CA                          Handwritten           Yes            No          Yes (Max)
 Priority                               ozs
 4.                                  9 lbs. 15
                  Yes – CA                          Handwritten           Yes            No          Yes (Max)
 Priority                               ozs

        7.       The suspicious characteristics listed above were identified while the Subject

Parcels were in the mail stream, including the use of law enforcement and other databases to

make determinations about associations between senders/recipients and the addresses listed on

the parcels.    Therefore, on May 30, 2019, Postal Inspectors removed the Subject Parcels from

the mail stream, law enforcement used standard protocol for canine detection to determine

whether there was probable cause that the Subject Parcels contained narcotics. After being

removed from the mail stream, the Subject Parcels were individually placed in a secure area next

to several other empty and unused boxes at the Washington General Mail Facility on May 30,

2019. At that time, narcotic detection canine, Max,1 was brought forward to scan the group of


 1
   “Max” was most recently certified in May of 2019 to alert on odors of marijuana (THC), cocaine, “crack”
cocaine, heroin, ecstasy (MDMA) and methamphetamine and is trained to ensure his accuracy. Detective Vincent
Witkowski, detective for the Metropolitan Police Department of the District of Columbia, is the handler for “Max.”

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boxes, which included the individual Subject Parcel and the empty and unused boxes placed

around the Subject Parcel. The handler, Detective Vincent Witkowski (Metropolitan Police

Department of the District of Columbia) observed the canine and then informed agents whether

the dog alerted on the Subject Parcel. This process was repeated for each and every Subject

Parcel listed above. As indicated in the chart, the drug detection dog alerted to the presence of

narcotics in the Subject Parcel each and every time.




                                                 7
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